      Case 8:12-cv-00288-VMC-TGW Document 214 Filed 07/31/19 Page 1 of 5 PageID 1622




                                         UNITED STATES DISTRICT COURT
                                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION


        Terry E. Sears,                                    )
                                                           )
                          Plaintiff,                       )
                                                           )
                   vs.                                     )
                                                                     Case No. 8:12-CV-00288-T-33TGW
                                                           )
        Eduardo Rivero, et al.,                            )
                                                           )
                          Defendant.                       )
                                                           )

          PLAINTIFF’S MOTION IN LIMINE TO BAR REFERENCES TO THE DETAILS OF
          PLAINTIFF’S PRIOR CRIMINAL CONVICTIONS AND MEMORANDUM OF LAW
                   COMES NOW, Plaintiff, Terry Eugene Sears (“Mr. Sears”), by and through his

        undersigned counsel, and respectfully moves this Court to enter an Order in limine barring the

        Defendants from eliciting or presenting evidence or argument regarding the details, number, and

        nature of Mr. Sears’ prior felony convictions, and states:

             1. This lawsuit arises from an incident at Polk Correctional Institution (“PCI”) during which

                   Mr. Sears states that the correctional officers at PCI used excessive force upon him and

                   failed to intervene, causing damages.

             2. Mr. Sears was imprisoned at PCI after being convicted of multiple felonies, including

                   burglary, possession of cocaine, false imprisonment, aggravated battery, and armed

                   robbery.

             3. During the jury trial, Mr. Sears’ testimony will be necessary to prove his claim. This is

                   especially true because at one point in time there was evidence, in the form of a video

                   recording, which would have supported his claims. However, that evidence was destroyed,




4845-8940-4574.1
      Case 8:12-cv-00288-VMC-TGW Document 214 Filed 07/31/19 Page 2 of 5 PageID 1623




                   leaving Mr. Sears’ testimony as the chief evidence in support of his claims. See Plaintiff’s

                   Motion to Adverse Inference Jury Instruction.

             4. Evidence of Mr. Sears’ prior convictions has no relevance to whether the officers used

                   excessive force and failed to intervene on March 18, 2010.

             5. Even if the Defendants wished to use the convictions for impeachments, the prejudicial

                   effect of evidence concerning the details, number, and nature of Mr. Sears’ prior

                   convictions vastly outweighs any potential probative value.

             6. It is not disputed that the Defendants are entitled to ask Mr. Sears whether he is a “felon”

                   or has been convicted of a crime “punishable by death or imprisonment of more than one

                   year” for impeachment purposes.

             7. However, that he was convicted of a crime punishable by death or imprisonment for more

                   than one year is the extent to which the inquiry is proper under the circumstances.

             8. If Mr. Sears’ convictions are admitted, the jury may likely fail to consider the facts at issue

                   due to a preoccupation with the nature, number, and/or circumstances of the convictions

                   that they will be unable to fairly decide whether there was an excessive use of force and

                   failure to intervene in this specific situation.

             9. The laws of the United States provide that even as a felon, Mr. Sears has constitutionally

                   protected rights, and that among those rights is the right to be free from an excessive use

                   of force. This right exists regardless of Mr. Sears’ convictions.

             10. For these reasons, the Defendants and their counsel should be prohibited from offering or

                   eliciting evidence about (i) for what crimes Mr. Sears was convicted; (ii) the number of

                   Mr. Sears’ convictions; (iii) the circumstances or details of Mr. Sears’ convictions, or (iv)

                   the length and/or nature of his sentence (including the fact that Mr. Sears is serving a life


                                                               2
4845-8940-4574.1
      Case 8:12-cv-00288-VMC-TGW Document 214 Filed 07/31/19 Page 3 of 5 PageID 1624




                   sentence and was subject to solitary confinement at one time or another). Defendants

                   furthermore should be prohibited from referring to or offering or eliciting information

                   about the victims associated with Mr. Sears’ convictions.

                                            MEMORANDUM OF LAW

                   Evidence of the details, number, or circumstances of Mr. Sears’ prior convictions,

        references to victims, or details regarding his sentences is not relevant, is unfairly prejudicial, and

        should not be admitted at the trial in this case. The Federal Rules of Evidence instruct that

        irrelevant evidence is not admissible, and evidence that does have some relevancy is only

        admissible if its probative value outweighs any prejudice and it will not mislead the jury or confuse

        the issues. Fed. R. Evid. 401 & 403. Under the Federal Rules of Evidence, evidence that Mr. Sears

        was convicted of a crime that was punishable by death or by imprisonment for more than one year

        is permitted for the purposes of impeachment if Mr. Sears testifies. Fed. R. Evid. 609. However,

        Rule 609 permits only the admission of evidence of the fact that Mr. Sears was convicted of a

        crime punishable by either “death or imprisonment for more than one year.” There is nothing in

        the rule that requires Mr. Sears specify whether his conviction was for a crime “punishable by

        death” as opposed to a crime punishable by “imprisonment for more than one year” and there is

        nothing in the rule that requires that he be impeached with evidence of that nature.

                   Several Federal Circuit cases recognize the importance of excluding the prejudicial

        convictions. In United States v. Burston, the court recognized the balancing test between probative

        and prejudicial evidence. Burston, 159 F.3d 1328, 1336 (11th Cir. 1998). In the instant matter, the

        prejudicial effect of Mr. Sears’ convictions far outweighs any probative value. Other federal courts

        have recognized the balancing test with respect to inmates in a civil rights lawsuit. See Chapman

        v. Willis, 2014 WL 2159344, *2 (W.D. Va. May 23, 2014) (citing Burston, 159 F.3d at 1336). See

        also Emery v. Harris, 2014 WL 467081 *1 (E.D. Ca. Feb. 5 2014) (court excluded evidence of the
                                                    3
4845-8940-4574.1
      Case 8:12-cv-00288-VMC-TGW Document 214 Filed 07/31/19 Page 4 of 5 PageID 1625




        details of inmate plaintiff’s past convictions, including the types of crimes for which he was

        convicted, in § 1983 suit complaining of excessive force). In Willis, the court excluded the felony

        convictions, noting that the convictions would be more prejudicial than probative. In civil rights

        cases, several courts have suggested that eliciting any details about the plaintiff’s prior convictions

        would violate Rule 403. See Scott v. Lawrence, 36 F.3d 871, 874 (9th Cir. 1994); Daniels v.

        Loizzo, 986 F. Supp 245, 252 (S.D.N.Y. 1997); Old Chief v. United States, 519 U.S. 172, 185

        (1997). In the instant case with Mr. Sears, the details of his convictions are irrelevant and are

        impermissible character evidence. The danger of prejudice, here, is far greater than the probative

        value. For these reasons, Mr. Sears respectfully requests that this Court consider the balancing test

        and prohibit the Defendants from introducing or eliciting evidence related to the nature, number,

        or circumstances of Mr. Sears’ convictions, and be limited to inquiring whether Mr. Sears has been

        convicted of a crime punishable by death or imprisonment of more than one year.

                                                   CONCLUSION

                   For the foregoing reasons, Mr. Sears respectfully requests that this Honorable Court enter

        an Order in Limine precluding the Defendants from presenting evidence or argument concerning:

        (1) the nature of Mr. Sears’ convictions; (2) the number of Mr. Sears’ convictions; (3) details

        regarding his convictions; (4) the length and/or nature of his sentence; (5) any details regarding

        victims of the crimes; (6) and whether the crime was punishable by death or imprisonment more

        than one year.

                                 Certificate of Compliance with Local Rule 3.01(g)

                   Pursuant to Local Rule 3.01(g), the undersigned certifies that she has attempted to confer

        in good faith with counsel for Defendants regarding the relief requested herein. Defense counsel

        was unavailable to confer, but Plaintiff’s counsel is filing the Motion in Limine on this date due to

        the limited time before the approaching jury trial. This Honorable Court’s Rulings will impact the
                                                         4
4845-8940-4574.1
      Case 8:12-cv-00288-VMC-TGW Document 214 Filed 07/31/19 Page 5 of 5 PageID 1626




        length of trial and trial preparation. Plaintiff’s counsel intends to attempt to confer again with

        Defense counsel on the Motion on August 1, 2019, before the pre-trial conference.


          Dated: July 31, 2019                              Respectfully submitted,

                                                            /s/ Lauren D. Kerr ____________

                                                            Mark J. Wolfson (FBN 352756)
                                                            Michael P. Matthews (FBN 63988)
                                                            Kara M. Wick (FBN 85578)
                                                            Heather A. Lee (FBN 1011026)
                                                            Lauren D. Kerr (FBN 127593)
                                                            Foley & Lardner, LLP
                                                            100 North Tampa Street, Suite 2700
                                                            Tampa, FL 33602
                                                            Telephone: 813.229.2300
                                                            Facsimile: 813.221.4210
                                                            mmathews@foley.com
                                                            hlee@foley.com
                                                            lkerr@foley.com
                                                            Attorneys for the Plaintiff,
                                                            Terry Eugene Sears




                                                        5
4845-8940-4574.1
